     Case 15-42460                Doc 267     Filed 03/07/18 Entered 03/07/18 14:49:17       Desc Main
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                                        UNITED STATES BANKRUPTCY COURT
                                             DISTRICT OF MINNESOTA

    In re:
    Paul Hansmeier,
                   Debtor.                                              BKY 15-42460
    ----------------------------
    Paul Hansmeier,                                                     ADV 16-04124
                       Plaintiff,
    v.                                                                  JUDGMENT
    Sandipan Chowdhury and Booth
    Sweet LLP,
                      Defendants.


   At Minneapolis, Minnesota, March 7, 2018.

                         This proceeding came before the court, and a decision or order for judgment

   was duly rendered, the Honorable Kathleen H. Sanberg, Chief United States Bankruptcy

   Judge, presiding.

                         It is therefore Ordered and Adjudged:.

                         1.         The plaintiff shall recover from the defendants $71,620.90 payable

   jointly to Randall L. Seaver, the chapter 7 trustee, and the plaintiff, Paul Hansmeier.

                         2.         All parties bear their own costs.

   Dated:                March 7, 2018                                  Lori A. Vosejpka
   At:                   Minneapolis, Minnesota                         Clerk of Bankruptcy Court


                                                                        /e/ Lynn M. Hennen
                                                                By:
                                                                        Lynn M. Hennen
                                                                        Deputy Clerk

NOTICE OF ELECTRONIC ENTRY AND
FILING ORDER OR JUDGMENT
Filed and Docket Entry made on 03/07/2018
Lori Vosejpka, Clerk, by LH
